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     THOMAS A. JOHNSON, #119203
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3    Attorney for Defendant
     FERNANDO AMARILLAS-LOPEZ
4

5

6                                IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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9
                                                      )   Case No.: 2:08-cr-00410-KJM
     UNITED STATES OF AMERICA,                        )
10
                                                      )   STIPULATION AND ORDER TO
                    Plaintiff,                        )   JUDGMENT AND SENTENCING
                                                      )
11        vs.                                         )   Date:    May 12th, 2011
     FERNANDO AMARILLAS-LOPEZ,                        )   Time:    10:00 a.m.
12
                                                      )   Judge:   Hon. Kimberly J. Mueller
                    Defendant.                        )
13
                                                      )
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15          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the Judgment
16   and Sentencing scheduled for May 12th, 2011 at 10:00 a.m. is continued to July 7th, 2011 at 10:00
17   a.m. in the same courtroom. Daniel S. McConkie, Jr., Assistant United States Attorney and
18   Thomas A. JoKQVRQ'HIHQGDQW¶VDWWRUQH\both agree to this continuance.
19          It is further stipulated that the period from the date of this stipulation through and
20   including July 7th, 2011, be excluded in computing the time within which trial must commence
21   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local T4 (reasonable
22   time for preparation of counsel).
23

24   IT IS SO STIPULATED.
25

26
     DATED: April 29th, 2011                                By:    /s/ Thomas A. Johnson_____
27
                                                                   THOMAS A. JOHNSON
                                                                   Attorney for Defendant
28
                                                                   FERNANDO AMARILLAS-LOPEZ




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1
     DATED: April 29th, 2011                            BENJAMIN WAGNER
2                                                       United States Attorney
3                                                 By:   /s/ Thomas Johnson for __
                                                        DANIEL S. MCCONKIE, JR.
4                                                       Assistant U.S. Attorney
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7    IT IS SO ORDERED.
8
     Dated: May 2, 2011.
9
                                                    UNITED STATES DISTRICT JUDGE
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